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  8
                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
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 11
      NOMADIX, INC.,                )        CASE NO. 2:19-cv-10202-DDP-E
 12                                 )
               Plaintiff,           )        [Hon. Dean D. Pregerson]
 13                                 )
           vs.                      )
 14                                 )        STIPULATION TO EXTEND TIME
      SIA MIKROTĪKLS; MICROCOM      )        FOR MICROCOM
 15   TECHNOLOGIES, INC.; CREATIVE )         TECHNOLOGIES, INC. TO
      WIRELESS, INC.; and GLOBAL IT )        RESPOND TO COMPLAINT
 16   COMMUNICATIONS, INC.,         )
                                    )        Complaint Served: 1/22/2020
 17            Defendants.          )        Current Response Date: 7/10/2020
                                    )        New Response Date: 7/31/2020
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 19                                 )
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                                                                                           1                                      STIPULATION
                                                                                           2         WHEREAS, on January 22, 2020, Plaintiff Nomadix, Inc. (“Nomadix”) served
                                                                                           3   the complaint on Defendant Microcom Technologies, Inc.’s (“Microcom”) agent for
                                                                                           4   service of process;
                                                                                           5         WHEREAS, on or about February 12, 2020, Nomadix and Microcom
                                                                                           6   submitted a stipulation and proposed order pursuant to Local Rule 8-3 extending
                                                                                           7   Microcom’s deadline to respond to the Complaint to March 13, 2020 (Dkt. No. 11);
                                                                                           8         WHEREAS, on March 11, 2020, the parties submitted a stipulation and
                                                                                           9   proposed order to a 30-day extension to respond to the complaint, which the Court
                                                             Facsimile: (310) 394-4477




                                                                                          10   granted on March 12, 2020 (Dkt. Nos. 19 and 20, respectively);
                                                                                          11         WHEREAS, on April 13, 2020, as the parties continued to engage in settlement
CISLO & THOMAS LLP

                                          Los Angeles, California 90025




                                                                                          12   discussions, the parties submitted a stipulation and proposed order for a similar 30-
                                            12100 Wilshire Boulevard
            Attorneys at Law




                                                                                          13   day extension for Microcom to respond to the complaint, which the Court granted on
                                                   SUITE 1700




                                                                                          14   April 14, 2020 (Dkt. Nos. 23 and 24, respectively);
                                                                                          15         WHEREAS, on May 12, 2020, as the parties continued to engage in settlement
                        Telephone: (310) 451-0647




                                                                                          16   discussions, the parties submitted a stipulation and proposed order for an additional
                                                                                          17   30-day extension for Microcom to respond to complaint, which the Court granted on
                                                                                          18   May 13, 2020 (Dkt. Nos. 28 and 29, respectively);
                                                                                          19         WHEREAS, on June 10, 2020, as the parties continued to engage in good faith
                                                                                          20   discussions about resolution as to Microcom, including drafting documents in that
                                                                                          21   regard, the parties parties submitted a stipulation and proposed order for an additional
                                                                                          22   30-day extension for Microcom to respond to complaint, which the Court granted on
                                                                                          23   June 15, 2020 (Dkt. Nos. 31 and 32, respectively)
                                                                                          24         WHEREAS, counsel for the parties are continuing to make progress in their
                                                                                          25   good faith discussions about resolution as to Microcom, including progressing in the
                                                                                          26   drafting of documents in that regard, and remain hopeful that a resolution may soon
                                                                                          27   be reached;
                                                                                          28         WHEREAS, in connection with counsels’ discussions, counsel for both parties

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                                                                                           1   believe that additional time, without escalation of the litigation, will support the
                                                                                           2   parties’ ongoing discussions; and,
                                                                                           3         WHEREAS, because at least one of the other named defendants has yet to be
                                                                                           4   served, and is in the process of being served via the Hague Service Convention – this
                                                                                           5   extension of time will not cause any delay in the overall case.
                                                                                           6         NOW THEREFORE, Defendant Microcom Technologies, Inc. and Plaintiff
                                                                                           7   Nomadix, Inc., by and through their respective counsel of record, hereby stipulate
                                                                                           8   and agree that Microcom Technologies, Inc. shall have up to, and including, July 31,
                                                                                           9   2020 to file a response to the complaint in this action.
                                                             Facsimile: (310) 394-4477




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                                                                                          11   IT IS SO STIPULATED.
CISLO & THOMAS LLP

                                          Los Angeles, California 90025




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                                            12100 Wilshire Boulevard




                                                                                                CISLO & THOMAS LLP                            KNOBBE MARTENS OLSON AND
            Attorneys at Law




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                                                                                                                                              BEAR LLP
                                                                                          14
                                                                                          15    /s/ Mark D. Nielsen       O                   /s/Mark Lezama (with permission)O
                        Telephone: (310) 451-0647




                                                                                                Mark D. Nielsen                               Douglas G. Muehlhauser
                                                                                          16    Daniel M. Cislo                               Perry D. Oldham
                                                                                          17                                                  Mark Lezama
                                                                                                Attorneys for Defendant,
                                                                                          18    MICROCOM TECHNOLOGIES, INC. Attorney for Plaintiff,
                                                                                          19                                NOMADIX, INC.
                                                                                                Dated: July 6, 2020
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                                                                                                                            Dated: July 6, 2020
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                                                                                           1                                    CERTIFICATE OF SERVICE
                                                                                           2           I hereby certify that on July 6, 2020, I electronically filed the foregoing document with the
                                                                                           3   clerk of court for the U.S. District Court, Central District of California, using the electronic case
                                                                                               filing system of the court.
                                                                                           4
                                                                                                      I hereby certify that on July 6, 2020, I caused the foregoing document to be served by the
                                                                                           5   Court’s Electronic Filing System:
                                                                                           6
                                                                                                                                   Douglas G Muehlhauser
                                                                                           7                                   doug.muehlhauser@knobbe.com
                                                                                                                                      Perry D. Oldham
                                                                                           8                                     perry.oldham@knobbe.com
                                                                                           9                                            Mark Lezama
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                                                                                                                                     Fax: 949 760 9502
            Attorneys at Law




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                                                   SUITE 1700




                                                                                                      FEDERAL: I declare, under penalty of perjury under the laws of the United States of
                                                                                          14          America that the foregoing is true and that I am employed in the office of a member of the
                                                                                                      Bar of this Court at whose direction the service was made.
                                                                                          15
                        Telephone: (310) 451-0647




                                                                                          16          Executed on July 6, 2020, at Westlake Village, California.

                                                                                          17
                                                                                                                                                    /s/ Laura Banuelos
                                                                                          18                                                        Laura Banuelos
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